              Case 2:16-cv-00920-MJP Document 365 Filed 11/04/20 Page 1 of 4




 1

 2

 3

 4

 5

 6

 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10          JOHN R. BUND II, et al.,                        CASE NO. C16-920 MJP

11                                 Plaintiffs,              ORDER SETTING TRIAL DATE
                                                            AND OTHER CASE DEADLINES
12                  v.

13          SAFEGUARD PROPERTIES LLC,

14                                 Defendant.

15

16          Having reviewed the Parties’ Proposed Joint Scheduling Order (Dkt. No, 363) and held a

17   status conference with the Parties regarding the same, the Court hereby sets the following

18   deadlines:

19    JURY TRIAL DATE
      Completion of discovery as to the James          December 18, 2020
20       Plaintiffs
      Defendant’s Motion for Summary Judgment          January 29, 2021
21       and determination as to whether the James
         Plaintiffs can meet the typicality and
22       adequacy requirements of FRCP 23(a)(3)
         and (a)(4) filed by and noted on the
23       motion calendar on the fourth Friday
         thereafter (See CR7(d)
24


     ORDER SETTING TRIAL DATE AND OTHER CASE DEADLINES - 1
             Case 2:16-cv-00920-MJP Document 365 Filed 11/04/20 Page 2 of 4




 1   If the Court denies Summary Judgment, but find that Plaintiffs cannot meet Rule
     23(a)(3) and (a)(4), the following dates shall apply:
 2   All motions in limine must be filed by and      April 21, 2021
         noted on the motion calendar no earlier
 3       than the third Friday thereafter and no
         later than the Friday before the pretrial
 4       conference.
     Agreed pretrial order due                       May 7, 2021
 5   Trial briefs, proposed voir dire questions, and May 7, 2021
         proposed jury instructions
 6   Pretrial conference                             May 13, 2021 at 1:30 PM
     Length of Jury Trial                            4 Days
 7   JURY TRIAL DATE                                 May 24, 2021
     If the Court denies Summary Judgment and determines the James Plaintiffs can meet
 8   Rule 23(a)(3) and (a)(4), the following dates shall apply
     Class-related discovery to completed by         July 9, 2021
 9   Reports from expert witnesses under FRCP        Plaintiffs’ reports due: August 6, 2021
         26(a)(2) due                                Defendant’s reports due: September 3, 2021
10   Completion of expert depositions by             November 5, 2021
     All motions related to class discovery and      December 3, 2021
11       expert discovery (including Daubert
         challenges) must be filed and noted on the
12       motion calendar on the third Friday
         thereafter (See CR7(d))
13
     Motion for class certification must be filed    December 3, 2021
         and noted on the motion calendar on the
14
         fourth Friday thereafter (CR7(d))
     All dispositive motions must be filed by and    February 4, 2022
15
         noted on the motion calendar on the fourth
         Friday thereafter (See CR7(d))
16
     Counsel are reminded of the requirement
17
        to provide courtesy copies of any
        motions with exhibits or other
18
        attachments exceeding 50 pages.
        Compliance with this requirement will
19
        facilitate timely consideration of your
        motion.
20
     All motions in limine must be filed by and        April 13, 2022
        noted on the motion calendar no earlier
21
        than the third Friday thereafter and no
        later than the Friday before the pretrial
22
        conference.
23   Agreed pretrial order due                         May 2, 2022
     Trial briefs, proposed voir dire questions, and   May 2, 2022
24      proposed jury instructions



     ORDER SETTING TRIAL DATE AND OTHER CASE DEADLINES - 2
              Case 2:16-cv-00920-MJP Document 365 Filed 11/04/20 Page 3 of 4




 1    Pretrial conference                                May 5, 2022 at 1:30 PM
      Length of Jury Trial                               10 Day Trial
 2    Jury Trial Date                                    May 16, 2022

 3
            These dates are set at the direction of the Court after reviewing the joint status report and
 4
     discovery plan submitted by the parties. All other dates are specified in the Local Civil Rules. If
 5
     any of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal
 6
     holiday, the act or event shall be performed on the next business day. These are firm dates that
 7
     can be changed only by order of the Court, not by agreement of counsel or the parties. The Court
 8
     will alter these dates only upon good cause shown: failure to complete discovery within the time
 9
     allowed is not recognized as good cause. If the trial date assigned to this matter creates an
10
     irreconcilable conflict, counsel must notify the Deputy Clerk, Grant Cogswell, in writing within
11
     10 days of the date of this Order and must set forth the exact nature of the conflict. A failure to
12
     do so will be deemed a waiver. Counsel must be prepared to begin trial on the date scheduled,
13
     but it should be understood that the trial may have to await the completion of other cases.
14
                                             COOPERATION:
15
            As required by CR 37(a), all discovery matters are to be resolved by agreement if
16
     possible. Counsel are further directed to cooperate in preparing the final pretrial order in the
17
     format required by CR 16.1, except as ordered below.
18
                                                 EXHIBITS:
19
            The original and one copy of the trial exhibits are to be delivered to chambers four days
20
     before the trial date. Each exhibit shall be clearly marked. Exhibit tags are available in the
21
     Clerk’s Office. The Court hereby alters the CR 16.1 procedure for numbering exhibits: plaintiff's
22
     exhibits shall be numbered consecutively beginning with 1; defendant's exhibits shall be
23
     numbered consecutively beginning with the next number series not used by plaintiff.
24


     ORDER SETTING TRIAL DATE AND OTHER CASE DEADLINES - 3
              Case 2:16-cv-00920-MJP Document 365 Filed 11/04/20 Page 4 of 4




 1          Duplicate documents shall not be listed twice: once a party has identified an exhibit in the

 2   pretrial order, any party may use it. Each set of exhibits shall be submitted in individual file

 3   folders with appropriately numbered tabs.

 4                                            SETTLEMENT:

 5          Should this case settle, counsel shall notify Grant Cogswell as soon as possible at

 6   206−370−8518. Pursuant to GR 3(b), an attorney who fails to give the Deputy Clerk prompt

 7   notice of settlement may be subject to such discipline as the Court deems appropriate.

 8          The clerk is ordered to provide copies of this order to all counsel.

 9          Dated November 4, 2020.

10                                                         A
                                                           Marsha J. Pechman
11
                                                           United States District Judge
12

13

14

15

16

17

18

19

20

21

22

23

24


     ORDER SETTING TRIAL DATE AND OTHER CASE DEADLINES - 4
